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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


ANDREW GISSENDANER, individually
and on behalf of all others
similarly situated
                                              No. 6:18-cv-06158(MAT)
                         Plaintiff,           DECISION AND ORDER

            -vs-

ENHANCED RECOVERY COMPANY, LLC,


                         Defendant.



I.     Introduction

       Represented by counsel, Andrew Gissendanner (“Plaintiff”)

instituted this action alleging a violation of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“the FDCPA”)

against Enhanced      Recovery   Company,   LLC   (“Defendant”).   Pending

before the Court are Plaintiff’s Motion for Class Certification

(Docket No. 21) and Defendant’s Cross-Motion for Judgment on the

Pleadings or to Stay the Proceeding (Docket No. 22). For the

reasons discussed below, the Court grants Defendant’s Cross-Motion

for Judgment on the Pleadings, denies Plaintiff’s Motion for Class

Certification, and denies as moot Defendant’s alternative request

to stay.

II.    Factual Background and Procedural History

       The factual background of this case is simple, and consists of


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a single letter dated February 5, 2018 (“the Collection Notice”),

sent to Plaintiff by Defendant for purpose of collecting a debt

owed on a credit card. The Collection Notice indicated in part that

“[u]pon receipt of [Plaintiff’s] payment and clearance of funds in

the amount of $2,562.06, [Plaintiff’s] account will be considered

paid in full.” Docket No. 1-3. Plaintiff claims that the following

two   statements    in    the    Collection     Notice   are     misleading     and

therefore violative of the FDCPA: (1) “Interest Accrued: N/A” and

(2)   “Non-interest      Charges    &   Fees:   N/A.”    Based    on   these    two

statements, Plaintiff filed his Complaint alleging that Defendant’s

Collection Notice was in violation of 15 U.S.C. § 1692e. Defendant

answered the Complaint, and the parties engaged in an unsuccessful

mediation session.

       Plaintiff    subsequently        filed    a   motion      seeking    class

certification and proposing to act as a representative of a class

consisting of natural persons who reside in New York and who,

within one year prior to the filing of this action, received a

letter from     Defendant       in substantially     the   same    form    as   the

February 5, 2018 letter Plaintiff received, in which Defendant was

collecting on a credit card debt.

       Defendant filed a cross-motion for judgment on the pleadings

pursuant to Rule 12(c) of the Federal Rules of Civil Procedure

(“Rule 12(c)”). Plaintiff opposed the Rule 12(c) motion but did not

object to staying the action pending the Court’s decision on the


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Rule 12(c) motion. Defendant filed a reply brief.

III. Discussion

     A.   Rule 12(c)

     Rule 12(c) provides that “after the pleadings are closed but

within such time as not to delay the trial, any party may move for

judgment on the pleadings.” Fed. R. Civ. P. 12(c). “Judgment on the

pleadings is appropriate where material facts are undisputed and

where a judgment on the merits is possible merely by considering

the contents of the pleadings.” Sellers v. M.C. Floor Crafters,

Inc., 842 F.2d 639, 642 (2d Cir. 1988) (citing National Fidelity

Life Ins. Co. v. Karaganis, 811 F.2d 357, 358 (7th Cir. 1987) (“The

court may consider only matters presented in the pleadings and must

view the facts in the light most favorable to the nonmoving

party.”)).

     B.   The FDCPA

     Under the FDCPA, a “debt collector may not use any false,

deceptive, or misleading representation or means in connection with

the collection of any debt.” 15 U.S.C. § 1692e (“§ 1692e”). In

particular,   a   debt   collector   may   not   falsely   represent    “the

character, amount, or legal status of any debt.” Id. § 1692e(2).

Nor may a debt collector “use . . . any false representation or

deceptive means to collect or attempt to collect any debt or to

obtain information concerning a consumer.” Id. § 1692e(10).

     When determining whether § 1692e has been violated, the court

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applies      “an    objective         standard,    measured       by    how      the   ‘least

sophisticated consumer’ would interpret the notice received from

the debt collector . . . .” Russell v. Equifax A.R.S., 74 F.3d 30,

34 (2d Cir. 1996) (citing               Clomon v. Jackson, 988 F.2d 1314, 1318

(2d Cir. 1993); Bentley v. Great Lakes Collection Bureau, 6 F.3d

60,    62    (2d    Cir.    1993)).       This    test       “ask[s]     how     the    least

sophisticated        consumer—‘one         not    having       the     astuteness      of   a

‘Philadelphia lawyer’ or even the sophistication of the average,

everyday, common consumer’—would understand the collection notice.”

Avila v. Riexinger & Assocs., LLC, 817 F.3d 72, 75 (2d Cir. 2016)

(quoting      Russell,      74    F.3d    at     34).    “Under      this      standard,    a

collection notice can be misleading if it is ‘open to more than one

reasonable interpretation, at least one of which is inaccurate.’”

Avila,      817    F.3d    at    75    (quoting    Clomon,      988     F.2d      at   1319).

Nonetheless, the Second Circuit “has been careful not to conflate

lack of sophistication with unreasonableness.” Ellis v. Solomon &

Solomon, P.C., 591 F.3d 130, 135 (2d Cir. 2010). Thus, “even the

‘least      sophisticated        consumer’       can    be   presumed       to    possess   a

rudimentary amount of information about the world and a willingness

to read a collection notice with some care.” Clomon, 988 F.2d at

1318–19.

       C.     Plaintiff Has Failed to Allege a False or Deceptive Debt
              Collection Practice


       Plaintiff argues that the following two statements in the


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Collection Notice sent by Defendant are materially misleading under

§ 1692e: “Interest Accrued: N/A” and “Non-interest Charges & Fees:

N/A.” According to Plaintiff, because every debt accrues interest,

it is misleading for Defendant to make these two statements because

the least sophisticated consumer could be led to think that his or

her debt had never accrued interest. Defendant responds that the

two statements are true, insofar as Plaintiff’s debt did not accrue

interest, charges, or fees, once it was placed into collection.

Defendant asserts that Plaintiff erroneously has ignored clear

language in the Collection Notice stating unambiguously that if

Plaintiff paid the amount of the “balance due” indicated therein,

his     debt   would     have   been   satisfied.     Defendant   argues   that

Plaintiff’s claim is governed by the Second Circuit’s recent cases,

Taylor v. Fin. Recovery Servs., Inc., 886 F.3d 212 (2d Cir. 2018),

and Avila, 817 F.3d 72, supra.

        In Avila, the Second Circuit held that a collection letter

must disclose that a debt is accruing interest—if such interest is

actually accruing. Avila, 817 F.3d at 76-77; see also id. at 74

(“The question presented is whether a collection notice that states

a consumer’s ‘current balance,’ but does not disclose that the

balance may increase due to interest and fees, complies with this

provision. We hold that Section 1692e requires debt collectors,

when they notify consumers of their account balance, to disclose

that    the    balance    may   increase   due   to   interest    and   fees.”).


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Following Avila, lack of uniformity existed among the district

courts on the issue of whether a debt collector must expressly

state when interest is not accruing. Maleh v. United Collection

Bureau,    Inc.,    287    F.   Supp.3d   265,   272   n.5     (E.D.N.Y.   2018)

(collecting cases). The Second Circuit’s recent decision, Taylor,

886 F.3d 212, supra, answered the question left open by Avila in

the negative.

      The plaintiffs in Taylor, relying on Avila, argued that the

defendant’s collection notices were misleading because the least

sophisticated consumer could have interpreted them to mean either

that interest and fees on the debts in question were accruing or

that interest and fees were not accruing. Id. at 214. In effect,

the plaintiffs argued, “a debt collector commits a per se violation

of Section 1692e whenever it fails to disclose whether interest or

fees are accruing on a debt.”         Id.

     The Taylor panel rejected this argument and distinguished

Avila,    stating   that    the   collection     notice   in    that   case   was

“misleading because ‘[a] reasonable consumer could read the notice

and be misled into believing that she could pay her debt in full by

paying the amount listed on the notice,’ whereas, in reality, such

a payment would not settle the debt.” Taylor, 886 F.3d at 214

(citing Avila, 817 F.3d at 76). In fact, one of the plaintiffs in

Avila paid the balance stated on the collection notice only to

learn that she still owed an unpaid balance that was accumulating

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interest at an exorbitant rate. Id. (citing Avila, 817 F.3d at 76).

Thus, in Avila, “[t]he debt collector could[—and did—] still seek

the interest and fees that accumulated after the notice was sent

but before the balance was paid,” as well as any interest or fees

that accumulated thereafter. Id. (quoting Avila, 817 F.3d at 76).

This rendered the language of the notice misleading.

     In Taylor, however, the collection notices did not discuss

interest or fees but did state the amounts of the respective

balances due by the plaintiffs. Therefore, these notices could have

been read to mean that prompt payment of the amounts stated would

satisfy the debts in question. Taylor, 886 F.3d at 214. While this

message “was prejudicially misleading on the facts of Avila, on the

facts of [Taylor] it was accurate: prompt payment of the amounts

stated in [the plaintiffs’] notices would have satisfied their

debts.” Id.   Thus, Taylor held, it is not misleading “within the

meaning of Section 1692e for a debt collection letter to state the

amount of a debt without disclosing that the debt, which once

accrued interest or fees, no longer does so.” Id. at 213.

     The   Second   Circuit   summarized   its   holding   in   Taylor   as

follows:

     [I]f a collection notice correctly states a consumer’s
     balance without mentioning interest or fees, and no such
     interest or fees are accruing, then the notice will
     neither be misleading within the meaning of Section
     1692e, nor fail to state accurately the amount of the




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       debt under Section 1692g.1 If instead the notice contains
       no mention of interest or fees, and they are accruing,
       then the notice will run afoul of the requirements of
       both Section 1692e and Section 1692g.

Taylor, 886 F.3d at 215. Here, the Collection Notice received by

Plaintiff “correctly state[d],” id., his balance without mentioning

interest or fees. However, as he admits, “no such interest or

[were] accruing[.]” Id.         Plaintiff’s case is governed by Taylor,

and Plaintiff has supplied no convincing reason why the Court

should     find    Taylor   distinguishable.    Therefore,       under   Taylor,

Defendant’s Collection Notice was not misleading within the meaning

of Section 1692e. Id. Plaintiff’s FDCPA claim accordingly lacks

merit.

IV.    Conclusion

       For   the    foregoing   reasons,    Defendant’s    Cross-Motion       for

Judgment     on    the   Pleadings   is   granted,   and   the    Complaint   is

dismissed. Plaintiff’s Motion for Class Certification is denied as

moot. Defendant’s alternative request to stay the case likewise is

denied as moot.

       SO ORDERED.

                                            S/ Michael A. Telesca

                                              HON. MICHAEL A. TELESCA
                                           United States District Judge

Dated:       December 6, 2018
             Rochester, New York

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       Plaintiff here does not raise a claim under Section 1692g of the FCDPA.

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